
PER CURIAM.
S.W. appeals her adjudication of delinquency for possession of alcohol by a minor. A city police officer stopped an automobile because it had no brakelights. Three juveniles occupied the front seat, with S.W. seated on the far right. An unopened six-pack of beer lay under her feet. S.W. contended that the beer was already on the floorboard of the automobile when the driver picked her up.
Significantly, there were no adults in the car who had a legal right to the beer. The fact that the beer was found beneath S.W.’s feet is sufficient evidence of knowledge and the ability to control to support a conviction upon constructive possession. Dean v. State, 406 So.2d 1162 (Fla. 2d DCA 1981).
AFFIRMED.
GRIMES, A.C.J., and DANAHY and SCHOONOVER, JJ., concur.
